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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

BENNY E. JAY,                                       §
                                                    §
     Plaintiff,                                     §
                                                    §       Civil Action No. 1:22-cv-00447-LY
v.                                                  §
                                                    §
WELLS FARGO BANK, NATIONAL                          §
ASSOCIATION AS TRUSTEE FOR                          §
OPTION ONE MORTGAGE LOAN                            §
TRUST 2006, ASSET-BACKED                            §
CERTIFICATES, SERIES 2006-2,                        §
                                                    §
     Defendant.                                     §

                              JOINT STIPULATION OF DISMISSAL

          Plaintiff Benny E. Jay (“Plaintiff”) and Defendant Wells Fargo Bank, National

Association, as Trustee for Option One Mortgage Loan Trust 2006, Asset-Backed Certificates,

Series 2006-2 (“Defendant”, and together with Plaintiff, “the Parties”) file this their Joint

Stipulation of Dismissal (the “Stipulation”) and respectfully show the Court as follows:

          The Parties have reached an agreement to dismiss for Plaintiff to dismiss his claims

against Defendant with prejudice. As such, in accordance with their agreement, the Parties

request that the Court sign an order:

          1.      That this Stipulation of Dismissal is granted; and

          2.      That all of the claims brought in this Action by Plaintiff against Defendant are

dismissed with prejudice to the re-filing of same;

          3.      That Defendant may charge its costs and attorney’s fees to the subject loan.

          The foregoing is stipulated by the Parties by and through their respective counsel of

record.

JOINT STIPULATION OF DISMISSAL
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                                                    Respectfully submitted,

                                                 By: /s/ James Minerve by Mark D.
                                                 Cronenwett with permission
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                                                 ATTORNEY FOR PLAINTIFF
                                                 And

                                                 By:    /s/ Mark D. Cronenwett
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                                               ATTORNEYS FOR DEFENDANT



                                CERTIFICATE OF SERVICE

       I hereby certify that on August 5, 2022, a true and correct copy of the foregoing was
served via ECF on the following party:

James Minerve
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Attorney for Plaintiff
                                                   /s/ Mark D. Cronenwett
                                                   MARK D. CRONENWETT



JOINT STIPULATION OF DISMISSAL
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